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14

15
     FEDERAL TRADE COMMISSION,                        Case No. 3:23-cv-2880-JSC
16
                   Plaintiff,                         PLAINTIFF FEDERAL TRADE
17
                                                      COMMISSION’S RULE 62(d) MOTION
            v.
18                                                    FOR INJUNCTION PENDING APPEAL
     MICROSOFT CORP.
19                                                    Dept.: Courtroom 8
     and                                              Honorable Jacqueline Scott Corley
20
     ACTIVISION BLIZZARD, INC.,                       Expedited Relief Requested
21
                   Defendants.
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1                                NOTICE OF MOTION AND MOTION

2           PLEASE TAKE NOTICE that Plaintiff Federal Trade Commission (“FTC” or

3    “Commission”) shall move and hereby does move the Court for expedited relief in the form of

4    entry of an Rule 62(d) injunction pending resolution of the FTC’s appeal from the Court’s

5    Opinion (ECF 305). This injunction is necessary to preserve the status quo while Court of

6    Appeals reviews the Court’s Opinion denying the FTC’s request for a preliminary injunction

7    pursuant to Federal Trade Commission Act § 13(b), 15 U.S.C. § 53(b), preventing Defendant

8    Microsoft Corporation (“Microsoft”) from completing its proposed acquisition of Defendant

9    Activision Blizzard, Inc. (“Activision”) (the “Proposed Acquisition”) or a substantially similar

10   acquisition while the FTC’s review of the merits of the Proposed Acquisition is pending. In the

11   alternative, Plaintiff respectfully moves for an injunction preventing Defendants from

12   completing the Proposed Acquisition until after the Court of Appeals has ruled on Plaintiff’s

13   motion for a stay pending appeal that it also is filing contemporaneously in the appellate court.

14                                     ISSUE TO BE DECIDED

15          Whether, pursuant to Federal Rule of Civil Procedure 62(d), the Court should enter an

16   injunction preventing Microsoft and Activision from consummating the Proposed Acquisition

17   or a substantially similar acquisition until after the Court of Appeals has had the opportunity to

18   adjudicate the FTC’s appeal from the Court’s Opinion (ECF 305) in this matter.

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1             Plaintiff Federal Trade Commission (“FTC” or the “Commission”) respectfully moves

2    for an injunction pursuant to Federal Rule of Civil Procedure 62(d) enjoining the proposed

3    transaction between Defendants Microsoft Corporation and Activision Blizzard, Inc.

4    (“Activision”) pending appellate review of the Court’s Opinion denying Plaintiff’s request for a

5    preliminary injunction. Alternatively, the FTC respectfully requests that the Court temporarily

6    enjoin the transaction pending a ruling by the Court of Appeals for the Ninth Circuit on an

7    emergency application for an injunction pending appeal that the FTC intends to file.

8             Pursuant to the Court’s modification of the temporary restraining order previously

9    entered, Defendants may consummate Microsoft’s proposed acquisition of Activision (the

10   “Proposed Acquisition”) after 11:59 p.m. on July 14, 2023. Op. at 53. Accordingly, the FTC

11   respectfully requests a ruling on this Motion as soon as possible.

12            The FTC respectfully submits that this Court’s denial of the FTC’s motion for a

13   preliminary injunction raises serious, substantial issues for the Court of Appeals to resolve. An

14   injunction pending appeal is necessary to preserve the status quo, which would otherwise be

15   irreparably altered if the Proposed Acquisition were consummated during appellate review. An

16   injunction will preserve the FTC’s ability to obtain effective relief if it were to ultimately prevail.

17   An injunction also would prevent irreparable injury to consumers and competition that will arise

18   upon consummation of the Proposed Acquisition. By contrast, a stay pending appeal will not

19   substantially injure Defendants, and an injunction is in the public interest. For these reasons, the

20   Court should temporarily enjoin the consummation of the Proposed Acquisition while the Court

21   of Appeals resolves Plaintiff’s appeal.

22                                              ARGUMENT

23       I.      THE APPLICABLE LEGAL STANDARD

24            Federal Rule of Civil Procedure 62(d) provides in relevant part: “While an appeal is

25   pending from an interlocutory order or final judgement that . . . refuses . . . an injunction, the

26   court may . . . grant an injunction on terms for bond or other terms that secure the opposing

27   party’s rights.” Fed. R. Civ. P. 62(d). Motions for injunctive relief under Rule 62(d) are evaluated

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1    using “the traditional four-factor test applicable to motions to stay: ‘(1) whether the stay

2    applicant has made a strong showing that he is likely to succeed on the merits; (2) whether the

3    applicant will be irreparably injured absent a stay; (3) whether issuance of the stay will

4    substantially injure the other parties interested in the proceeding; and (4) where the public

5    interest lies.’” Nken v. Holder, 556 U.S. 418, 426 (2009); Bradt v. T-Mobile US, Inc., 19-cv-

6    07752-BLF, 2020 WL 1233939, at *1 (N.D. Cal. Mar. 13, 2020) (quoting Hilton v. Braunskill,

7    481 U.S. 770, 776 (1987)); 1 M.A. Mobile Ltd. v. Indian Inst. of Tech. Kharagpur, No. 3:08-cv-

8    02658-WHO, 2019 WL 6525752, at *2 (N.D. Cal. Dec. 4, 2019). The first two factors of the

9    standard are the “most critical.” Nken v. Holder, 556 U.S. 418, 434 (2009); Index Newspapers

10   LLC v. U.S. Marshals Service, 977 F.3d 817, 824 (9th Cir. 2020). “The applicant for a stay ‘need

11   not demonstrate that it is more likely than not they will win on the merits,’ but rather must show

12   ‘a reasonable probability’ or ‘fair prospect’ of success.” FTC v. Qualcomm Inc., 935 F.3d 752,

13   755-57 (9th Cir. 2019) (quoting Leiva-Perez v. Holder, 640 F.3d 962, 966-67 (9th Cir. 2011)).

14   Where the federal government is a party, the public interest merges with the asserted harm to the

15   government. Nken, 556 U.S. at 435.

16               These factors operate along a sliding scale: the stronger the showing on the merits, the

17   less harm is required, and vice versa. See, e.g., Leiva-Perez, 640 F.3d at 966; Golden Gate Rest.

18   Ass’n v. City & County of San Francisco, 512 F.3d 1112, 1115-16 (9th Cir. 2008). Where the

19   balance of harms and public interest weigh in favor of a stay and the court deems that the stay

20   movant has made a sufficient showing of success on appeal, a stay should be granted. See Leiva-

21   Perez, 640 F.3d at 966-70. Here, all four factors support the grant of an injunction to maintain

22   the status quo pending appeal.

23         II.      THE FTC IS LIKELY TO SUCCEED ON THE MERITS OF THE APPEAL

24               Granting an injunction pending appeal is warranted because the FTC is likely to succeed

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         Hilton cites to Rule 62(c) which became Rule 62(d) when the Federal Rules of Civil
27
     Procedure were amended in 2018. See Bradt, 2020 WL 1233939, at *1 n.1.
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1    on appeal. The FTC respectfully identifies the following examples of errors in the Court’s

2    Opinion.

3           A. The Court Applied the Wrong Legal Standard to This Section 13(b) Proceeding

4           The Court erred in applying the wrong legal standard to the FTC’s request for a

5    preliminary injunction. The FTC sought a preliminary injunction in this Court pursuant to

6    Section 13(b) of the FTC Act, pending completion of the Commission’s adjudication of the

7    merger’s legality. Under Ninth Circuit precedent, the Court’s task in a Section 13(b) proceeding

8    is “not to make a final determination on whether the proposed merger violates Section 7” of the

9    Clayton Act. FTC v. Warner Commcn’s Inc., 742 F.2d 1156, 1162 (9th Cir. 1984). Rather, as the

10   Court correctly recognized at the outset of these proceedings, the FTC “can meet ‘its burden of

11   demonstrating a likelihood of success by presenting evidence sufficient to raise serious,

12   substantial, difficult questions regarding the anticompetitive effects of the proposed

13   [transaction].’” Order re Evidentiary Hr’g on Prelim. Inj. Mot. (ECF 76) at 2 (quoting Warner

14   Commc’ns, 742 F.2d at 1164); see also Op. at 22. Accordingly, “the Court does not resolve

15   conflicts in the evidence—the question is simply whether the FTC ‘has met its burden of showing

16   a likelihood of success on the merits.’” Op. at 23 (quoting Warner Commc’ns, 742 F.2d at 1164).

17          In its Order, the Court at first recited the proper Warner Communications standard. Op.

18   at 22-23. But when the Court turned to whether the FTC had made a sufficient showing as to

19   anticompetitive effects, the Court inexplicably deviated from Warner Communications. Instead,

20   the Court applied the standard applicable to trials on the antitrust merits, relying on government

21   cases seeking permanent injunctions. In that context, federal district courts bear the

22   responsibility for determining the antitrust merits in the first instance; there is no separate

23   administrative proceeding to follow. In United States v. AT&T, Inc., 916 F.3d 1029 (D.C. Cir.

24   2019), for example, the United States sought a permanent injunction; the government there had

25   the burden to prove the ultimate merits—not merely to raise “serious, substantial” questions as

26   to the merits. And yet the Court here held the FTC to the same burden from AT&T, holding that

27   “with this proposed vertical merger, the outcome ‘turn[s] on whether, notwithstanding the

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1    proposed merger’s conceded procompetitive effects, the [g]overnment has met its burden of

2    establishing, through ‘case-specific evidence,’ that the merger of [Microsoft] and [Activision],

3    at this time and in this remarkably dynamic industry, is likely to substantially lessen competition

4    in the manner it predicts.’” Op. at 31 (quoting AT&T, 916 F.3d at 1037). That is decidedly not

5    the standard applicable to this preliminary Section 13(b) proceeding, and the Court erred in

6    holding the FTC to the standard applicable to a full trial on the merits of a vertical merger. The

7    same error affected other aspects of the Court’s analysis as well. See, e.g., Op. at 30 (relying on

8    AT&T and other non-Section 13(b) cases), 31 (“the court must engage in a comprehensive

9    inquiry”) (quoting United States v. AT&T, Inc., 310 F. Supp. 3d 161, 190 (D.D.C. 20198), 46

10   (applying AT&T merits standard).

11          B. The Court Erred as a Matter of Law When It Concluded That Microsoft Was

12   Likely to Foreclose Rivals in the Market for Multigame Subscription Library Services but

13   Found That Asserted Benefits to Microsoft’s Game Pass Customers Outweighed That

14   Foreclosure

15          The Court erred as a matter of law when it concluded that the FTC had not demonstrated

16   a likelihood of success with respect to the anticompetitive effects of the Proposed Acquisition in

17   the market for Multigame Library Subscription Services. See Op. at 47-48. As the Supreme Court

18   has explained, “[t]he primary vice of a vertical merger . . . is that, by foreclosing the competitors

19   of either party from a segment of the market otherwise open to them, the arrangement may act

20   as a clog on competition, which deprives rivals of a fair opportunity to compete.” Brown Shoe

21   Co. v. United States, 370 U.S. 294, 323-24 (1962) (cleaned up); see Ford Motor Co. v. United

22   States, 405 U.S. 562, 573 (1972); United States v. Am. Cyanamid Co., 719 F.2d 558, 566 (2d

23   Cir. 1983). And here, of course, the FTC needed only raise substantial questions about whether

24   such foreclosure was likely.

25          The Court assumed for purposes of its analysis that “Multigame Content Library

26   Services” constitute a relevant antitrust product market. Op. at 28. The Court acknowledged that

27   it was “undisputed that the combined firm has significant financial incentive to include Call of

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1    Duty in Game Pass,” Microsoft’s market-leading multigame content library subscription service.

2    Op. at 47; see Op. at 14-15 (stating that Game Pass had over 25 million subscribers by the end

3    of 2022 and noting Sony was the “second most popular” service). The Court “accept[ed] for

4    preliminary injunction purposes it is likely Call of Duty will be offered exclusively on Game

5    Pass, and not offered on rival subscription services.” Op. at 47. These propositions together

6    constitute a finding that the combined firm is likely to foreclose rivals from Call of Duty in the

7    market for multigame library subscription services. That alone should suffice for the Court to

8    enjoin the transaction pending the FTC’s review of the merits.

9           The Court further erred as a matter of law when it failed to apply the Supreme Court’s

10   Brown Shoe multifactor liability framework to the likely foreclosure. See, e.g., United States v.

11   Am. Cyanamid Co., 719 F.2d 558, 567 (2d Cir. 1983) (reversing district court and remanding for

12   application of Brown Shoe factors for assessing vertical merger foreclosure); Fruehauf Corp. v.

13   FTC, 603 F.2d 345, 352 (2d Cir. 1979) (describing Brown Shoe as “the fountainhead of § 7

14   analysis of vertical mergers”). The Court faulted the FTC for not referencing Brown Shoe in its

15   opening or closing arguments, but the FTC relied on this theory throughout this case. See, e.g.,

16   FTC Mot. for TRO (ECF 7) at 17-18; FTC Initial Proposed Findings of Fact & Conclusions of

17   Law at 108-11; FTC Final Proposed Findings of Fact & Conclusions of Law (“FFOF”) at 170-

18   71, 174, 179-83.

19          The Court’s single paragraph addressing Brown Shoe’s foreclosure factors simply asserts

20   that “the FTC does not make any new arguments not considered above.” Op. at 50. That is

21   incorrect. For example, the Court simply skipped over the question of whether potential

22   foreclosure of Activision’s AAA content from Microsoft’s current and future rivals would be

23   more than de minimis. Brown Shoe, 370 U.S. at 328. Similarly, despite conceding that one factor

24   of the FTC’s Brown Shoe theory involved the proposed merger increasing barriers to new entry,

25   the Court failed to address this factor.

26          The Court notably failed to address the “nature and purpose” of this vertical merger—a

27   factor the Supreme Court termed “most important . . . to examine.” Brown Shoe, 370 U. S. at

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1    329. If the vertical arrangement resembles “a tying contract,” the Supreme Court makes clear

2    that it “is inherently anticompetitive” and “is likely substantially to lessen competition although

3    only a relatively small amount of commerce is affected.” Id. (internal quotation marks omitted).

4    And yet, the Court accepted “for preliminary injunction purposes it is likely Call of Duty will be

5    offered exclusively on Game Pass, and not offered on rival subscription services”; therefore, the

6    Court found that the combined firm is likely to require purchasing a Game Pass subscription if a

7    user wants to access Call of Duty via subscription service. Op. at 47. That is “quite analogous to

8    . . . a tying clause.” Brown Shoe, 370 U.S. at 332. Accordingly, the Proposed Acquisition “is

9    inherently anticompetitive” even if “only a relatively small amount of commerce is affected.”

10   Id. at 329. The Court instead concluded that “the record does not support a finding of a serious

11   question as to whether Call of Duty Game Pass exclusivity will probably substantially lessen

12   competition in the subscription services market.” Op. at 47. Similarly, the Court discounted

13   evidence of Microsoft’s past conduct suggesting the nature and purpose of the arrangement was

14   akin to a tie, again contravening the Supreme Court’s express reliance on such evidence to

15   prohibit a vertical merger. See Brown Shoe, 370 U.S. at 332; Gulf & W. Indus., Inc. v. Great

16   A&P Tea Co., 476 F.2d 687, 697 (2d Cir. 1973).

17          The Court erred further in balancing the likely foreclosure in the subscription services

18   market against the alleged benefits from putting Call of Duty on Game Pass. Op. at 47. According

19   to the Court, adding Call of Duty to Game Pass will increase Game Pass users, which in turn will

20   give Microsoft more incentive to invest in other games. See Op. at 47-48. Even if a merger allows

21   the merged entity to provide better service to its customers, “the Clayton Act does not excuse

22   mergers that lessen competition or create monopolies simply because the merged entity can

23   improve its operations.” Saint Alphonsus Med. Ctr.-Nampa Inc. v. St. Luke's Health Sys., 778

24   F.3d 775, 792 (9th Cir. 2015). “It is difficult enough in § 7 cases to predict whether a merger

25   will have future anticompetitive effects without also adding to the judicial balance a prediction

26   of future efficiencies.” Id. at 790. Once the Court concluded that it is likely that the combined

27   firm would make Call of Duty exclusive to Game Pass, the Court committed reversible error

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1    when it substituted this erroneous balancing in place of the Brown Shoe factors for assessing

2    foreclosure. Here, too, the Court improperly held the FTC to a burden far greater than the Ninth

3    Circuit’s “serious, substantial questions” standard. Warner Commc’ns, 742 F.2d at 1162.

4            C. The Court Erred in Relying on Microsoft’s Offers to and Agreements with Rivals

5    to Find that the FTC Had Failed to Raise Substantial Questions about Incentive

6            In finding lack of incentive to foreclose in the console and cloud markets, the Court

7    relied, respectively, on Microsoft’s putative offer to Sony to keep Call of Duty on PlayStation

8    consoles and on Microsoft’s “post-FTC complaint agreements with five cloud-streaming

9    providers.” Op. at 38, 49. The Court’s reliance and analysis here on these putative “remedies” is

10   erroneous on multiple grounds.

11           First, such offers and agreements are not properly considered in deciding the issue of

12   whether the FTC has raised substantial questions about incentive to foreclose. Because a § 13(b)

13   proceeding does not reach the ultimate merits of the transaction, it cannot resolve what the

14   appropriate remedy would be if the Commission were ultimately to find a violation. See

15   generally United States v. Greater Buffalo Press, Inc., 402 U.S. 549, 556 (1971) (observing that

16   even a final adjudicator “naturally [does] not reach the question of remedy” if it does not first

17   find liability).

18           Second, even if they were properly considered, the Court’s analysis is inadequate as a

19   matter of law. To preclude the FTC from showing a likelihood of success, putative remedies

20   would need to dispel any substantial doubts and serious questions about the transaction’s legality.

21   See Warner Commc’ns, 742 F.2d at 1162; FTC v. Whole Foods Mkt., 548 F.3d 1028, 1035 (D.C.

22   Cir. 2008); FTC v. H.J. Heinz Co., 246 F.3d 708, 725 (D.C. Cir. 2001). Here, the Court instead

23   simply assumed from the existence of the agreements and offers that they are procompetitive.

24   Op. at 38, 49. For example, the Court’s assertion that the Sony offer is “just as favorable as

25   Sony’s current deal with Activision,” Op. at 38, has no support other than the Court’s own

26   reading of a few of the offer’s terms and ignores the evidence that the offer does not remedy the

27   potential harms to competition in the console market. According to the Court, this suffices to

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1    show somehow that the offer to Sony would have procompetitive effects on “output” and yield

2    “significant efficiencies.” Op. at 48. The Court erred in making up for Defendants’ lack of

3    evidence about the effects of these “remedies” in the relevant markets. See, e.g., Hr’g Tr. at 933-

4    34 (Microsoft Gaming CFO confirming no analysis of the effects of any of the “remedies” on

5    Microsoft Gaming’s business).

6           D. The Court’s Partial Foreclosure Analysis Constitutes Reversible Error

7           First, the Court was incorrect that the FTC omitted a theory of partial foreclosure from

8    “its original moving papers,” Op. at 45. See, e.g., Compl. ¶¶ 117-25 (alleging merger would give

9    Microsoft ability and incentive to engage in numerous strategies comprising partial foreclosure);

10   FTC Mot. for TRO (ECF 7) at 20-22 (discussing Microsoft’s ability and incentive to degrade

11   (i.e., partially foreclose) Activision content on rival platforms).

12          Second, the Court erred as a matter of law in stating that “[i]f the FTC has not shown a

13   financial incentive to engage in full foreclosure, then it has not shown a financial incentive to

14   engage in partial foreclosure.” Op. at 45. Even assuming arguendo that the FTC had failed to

15   submit evidence sufficient to raise substantial questions about full foreclosure (i.e., completely

16   withholding Activision content), the Court’s statement about partial foreclosure is incorrect.

17   Partial foreclosure is in fact less costly for the combined firm than full foreclosure. While full

18   foreclosure means giving up all revenues from the withheld input, partial foreclosure simply

19   entails raising rivals’ costs or degrading the input rivals may purchase relative to the foreclosing

20   firm’s product. The Supreme Court found a vertical merger violated § 7 even where the merged

21   firm was only financially incentivized to engage in partial foreclosure. United States v. E. I. du

22   Pont de Nemours & Co., 353 U.S. 586, 605 (1957). See also, e.g., United States v. Sybron Corp.,

23   329 F. Supp. 919, 928-29 (E.D. Pa. 1971) (“[A]bsolute foreclosure . . . would not be a profitable

24   course for an integrated [firm] . . . . Yet, there are many more subtle avenues available to an

25   integrated firm to increase its manufacturing sales, without risking retail sales.”); Hovenkamp,

26   Competitive     Harm       from     Vertical     Mergers      at      8   (2020),   available    at

27   https://scholarship.law.upenn.edu/faculty_scholarship/2218. Partial foreclosure can include, for

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1    example, making Activision content available first or appear better on Microsoft products and

2    services as compared to rivals.

3            Third, contrary to the Court’s assertion that “the record does not include any evidence

4    Microsoft has engaged in such conduct in the past,” Op. at 46, there was ample evidence that

5    Microsoft has deployed and contemplated such partial foreclosure strategies in the past. For

6    example, Microsoft Gaming’s CFO stated publicly after Microsoft’s acquisition of Zenimax that

7    Microsoft would not be pulling Zenimax content off of any rival, but instead Microsoft “want[s]

8    that content in the long run to be either first or better or best or pick your differentiated experience

9    on our platform.” Hr’g Tr. at 955-56 (discussing PX9192). “We will want Bethesda [i.e.,

10   Zenimax] content to show up the best as on our platforms.” Hr’g Tr. at 957. “‘First’ could mean

11   showing up first on a Microsoft platform as compared to another platform,” and as Microsoft

12   decided with Zenimax game Starfield. Hr’g Tr. at 958. “Better” could mean better resolution,

13   safety, security or other features versus rivals. Hr’g Tr. at 960. The Gaming CFO confirmed that

14   “things like Starfield and Redfall did show up first on Xbox so we're following through on the

15   things I said there.” Hr’g Tr. at 961. The CFO later told Microsoft Gaming’s CEO that he

16   “wish[ed] we could just go out and say we are taking it all [i.e., Zenimax titles] exclusive at this

17   point.” Hr’g Tr. at 964; PX4377.

18           The Court’s failure even to address the FTC’s arguments and evidence regarding partial

19   foreclosure strategies constitutes reversible error.

20           E. The Court Misapplied the Law and Ignored the FTC’s Evidence in Evaluating

21   Incentive to Foreclose

22           The Court misapplied the law in when it analyzed the evidence about the combined firm’s

23   incentive to foreclose. The Court assumed that the FTC had met its burden with respect to

24   relevant product markets, found for the FTC on the issue of relevant geographic market, and

25   accepted that the combined firm would have the ability to foreclose. Op. at 27-28, 33.

26   Nevertheless, the Court found that the combined firm did not have the incentive to foreclose

27   rivals. Op. at 33-50. In reaching that determination, however, the Court improperly resolved

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1    “conflicts in the evidence” (that the Court itself identified) in violation of Warner

2    Communications. 742 F.2d at 1164 (holding that in a Section 13(b) proceeding courts “do not

3    resolve conflicts in the evidence” or “undertake an extensive analysis of the antitrust issues”).

4    Indeed, the Court not only weighed evidence, it ignored the FTC’s evidence that more than

5    sufficed to raise substantial questions about the combined firm’s incentive to foreclose. In some

6    instances, the Court contradicted itself about the weight the evidence was to be given. Following

7    are examples of these errors.

8           1. The Court erred as a matter of law when it found that evidence of Microsoft’s

9               stated intent outweighed the evidence of incentive to foreclose

10          Although the Court correctly identified the issue as being whether the combined firm has

11   the incentive to foreclose rivals, Op. at 33, the Court erred as a matter of law when it relied on

12   evidence of Microsoft’s “intent” and when it found that such evidence outweighed the evidence

13   of incentive to foreclose. Intent is not an element of a claim that a merger violates the antitrust

14   laws. E. I. du Pont de Nemours, 353 U.S. at 607. “Honest intentions, business purposes and

15   economic benefits are not a defense to violations of an antimerger law,” Miss. River Corp. v.

16   FTC, 454 F.2d 1083, 1089 (8th Cir. 1972), and “good motives will not validate an otherwise

17   anticompetitive practice.” Cal. Dental Ass'n v. FTC, 224 F.3d 942, 948 (9th Cir. 2000). Other

18   than when specific intent is required as an element of conspiracy or attempt, evidence of intent

19   is relevant only to the extent it helps illuminate competitive effects. See Chi. Bd. of Trade v.

20   United States, 246 U.S. 231, 238 (1918) (“knowledge of intent may help the court to interpret

21   facts and to predict consequences”); Aspen Skiing Co. v. Aspen Highlands Skiing Corp., 472 U.S.

22   585, 603 (1985); United States v. Microsoft Corp., 253 F.3d 34, 59 (D.C. Cir. 2001) (“Evidence

23   of the intent . . . is relevant only to the extent it helps us understand the likely effect of the

24   monopolist's conduct.”).

25          Contrary to this established law, the Court reviewed and relied upon evidence of

26   Microsoft’s supposed intent as if intent itself were an element that the FTC was required to prove.

27   First, the Court relied on Microsoft’s efforts to reach deals with some (but not all) of its rivals

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1    and found that “this conduct is inconsistent with an intent to foreclose.” Op. at 34 (emphasis

2    added). Second, the Court relied upon testimony from Microsoft executives that “there are no

3    plans to make Call of Duty exclusive to Xbox.” Op. at 35. As an initial matter, this is inconsistent

4    with the Court’s acceptance that it is “likely” that Microsoft will make Call of Duty exclusive to

5    Xbox’s Game Pass subscription service. Op. at 47. But more fundamentally, the Court

6    committed an error of law when it relied upon the self-serving testimony of Microsoft executives

7    that they do not intend to foreclose rivals as a reason to find the FTC had failed to make its prima

8    facie case regarding incentive. See Op. at 35-36.

9           Such promises—in or out of court—have little or no probative value in assessing the

10   incentive that a combined firm will face. See FTC v. Meta Platforms, Inc., No. 5:22-cv-04325-

11   EJD, 2023 WL 2346238, at *25 (N.D. Cal. Feb. 3, 2023) (according little weight to statements

12   made during the course of litigation). That “Microsoft executives consistently testified that there

13   are no plans to make Call of Duty exclusive to Xbox,” Op. at 35, is irrelevant to the issues

14   properly before the Court: what are the likely incentives of the combined firm and has the FTC

15   raised serious questions as to whether these incentives indicate a reasonable probability that

16   competition may be substantially lessened if Defendants merge. See AT&T, 916 F.3d at 1045

17   (observing that testimony with respect to the competitive effects of a vertical merger is of “little

18   probative value” if it “involve[s] promises or speculations about the employees' future, post-

19   merger behavior”). The evidence regarding incentive cannot be balanced against mere promises

20   not to foreclose. Self-serving avowals about intentions and plans cannot suffice to prevent the

21   FTC from having a fair opportunity to adjudicate a merger’s lawfulness.

22          2. The Court committed reversible error when it improperly assigned the FTC the

23              burden of producing a smoking gun document

24          The Court erred in requiring the FTC to produce documentary evidence to overcome

25   Microsoft’s stated intent not to make Call of Duty exclusive to Xbox consoles. Op. at 36. It is

26   not the FTC’s burden to produce documents to contradict a company’s self-serving statements

27   made in the shadow of litigation about its intentions. But even putting that aside, the Court here

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1    ignored such “smoking gun” evidence.

2           The FTC introduced extensive evidence that Microsoft’s top executives understood that

3    they could lose money on sales of Activision content on PlayStation, but could recoup those

4    losses with increased Game Pass subscribers and more revenue from Activision titles on Xbox

5    consoles. Coming out of a meeting with Microsoft’s CEO and CFO, the Microsoft Gaming

6    finance team modeled the loss in revenues to the combined firm if revenues from Activision

7    sales on Sony’s PlayStation declined. Hr’g Tr. at 1006-13; PX1190; PX4319. This analysis,

8    which was shared with Microsoft’s top executives and planned to be shown to the Board,

9    demonstrated that Microsoft could lose revenue from Activision sales on PlayStation (contrary

10   to the official deal valuation model presented to Microsoft’s Board), but could make up for those

11   losses through a combination of increasing subscribers to Game Pass and shifting Activision

12   revenues away from PlayStation to Xbox. Hr’g Tr. 1015-22, 1023-29; PX4358; PX4359;

13   PX4367; PX4467; PX4472. The CFO testified that the number of new Game Pass subscribers

14   and the shift in Activision revenues to Xbox that would be required to make up for revenues lost

15   on PlayStation were both “reasonable” and “achievable.” Hr’g Tr. at 1029. This is as close to a

16   smoking gun regarding analysis of incentive to foreclose as one is likely to see in a case of this

17   kind. Despite this, the Court ignored this evidence and concluded that the FTC’s incentive

18   evidence was insufficient. See, e.g., Op. at 36, 40.

19          This evidence raises substantial questions about the competitive effects of the Proposed

20   Acquisition, including about the incentive to foreclose rivals. Ignoring this evidence of incentive,

21   especially while crediting Microsoft executives’ self-serving statements about the Company’s

22   “intent,” constitutes a reversible misapplication of the legal standard. See Warner Commc’ns.,

23   742 F.2d at 1164 (“Because the issue in this action for preliminary relief is a narrow one, we do

24   not resolve the conflicts in the evidence.”).

25          F. The Court committed reversible error when it found that the record contains

26   conflicting evidence on the anticompetitive effects of the merger but held that the FTC had

27   not established a likelihood of success on the merits

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1           The Court conceded a point that necessarily should have yielded finding a likelihood of

2    success: “at best, ‘the record contains conflicting evidence on the anticompetitive effects of the

3    merger.’” Op. at 52 (quoting Warner Commc’ns, 742 F.2d at 1165). But when that is true, then

4    the FTC has demonstrated “a likelihood of success.” As Warner explains: “[W]e do not ignore

5    the evidence presented by the defendants which conflicts with the Commission’s evidence.

6    Because the issue in this action for preliminary relief is a narrow one, we do not resolve the

7    conflicts in evidence . . . . We hold only that the Commission has met its burden on showing a

8    likelihood of success on the merits.” Warner Commc’ns, 742 F.2d at 1164.

9           G. The Court Erred in Balancing the Equities

10          In balancing the equities, the Court (1) inappropriately looked to the FTC, instead of

11   Defendants, to “point to beneficial economic effects”; (2) failed to address the FTC’s evidence

12   and arguments regarding immediate harm to innovation competition and harm resulting from

13   sharing of competitively sensitive information between the two companies; and (3) failed to

14   address the FTC’s evidence and arguments about the efficacy and difficulty of cleanly

15   separating two companies after such sharing has commenced, recurring problems that are the

16   very reason Congress enacted FTC Act § 13(b).

17          First, “[s]ection 13(b) places a lighter burden on the Commission than that imposed on

18   private litigants by the traditional equity standard; the Commission need not show irreparable

19   harm to obtain a preliminary injunction.” Warner Commc’ns, Inc., 742 F.2d 1156, 1159 (9th

20   Cir. 1984). Yet the Court’s equities analysis would effectively require the FTC to prove

21   irreparable harm, contravening the statutory text and purpose. The Court also erroneously

22   looked to the FTC to “point to beneficial economic effects”. Op. At 52 (“[T]he FTC cannot

23   point to beneficial economic effects as a public equity.”). See H.J. Heinz Co., 246 F.3d at 726.

24          Second, the harms identified by the FTC in this case are of the kind that are considered

25   irreparable in this Circuit. In Filtrol Corp. v. Slick Corp., No. 69-607-ALS, 1969 WL 219, at

26   *8 (C.D. Cal. Dec. 29, 1969), aff’d, 428 F.2d 826 (9th Cir. 1970), the district court found a risk

27   that “through the acquisition the distributor would gain a preferred position vis-a-vis its

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1    competitors . . . and would have power to deny supply to competitors or to supply inferior

2    quality.” Id. In light of this risk, the district court found it necessary to issue a preliminary

3    injunction to ensure that the distributor would not gain “access to [the supplier’s] treasury and

4    to its competitive development and research plans.” Id. Here, the FTC submitted evidence that

5    the proposed acquisition will lead to similar harms in the relevant markets. For example, as a

6    current supplier of gaming content to Microsoft’s rivals, Activision has access to competitively

7    significant information from those rivals. FFOF ¶¶ 662-71. Absent a stay, Microsoft will gain

8    access to Activision’s data and to the competitive development and research plans of its rivals

9    to which Activision is privy. As in Filtrol, the public and competition will be irreparably

10   harmed from any resulting halt to or slowdown of any future joint projects that Microsoft’s

11   rivals were working on with Activision. See 1969 WL 219, at *8; see FFOF ¶ 671.

12           Third, the Court assumed, without support and contrary to record evidence, that

13   divestiture down the road would be both simple and effective at remedying any interim harms.

14   Op. at 52. To the contrary, it would be difficult to prevent Microsoft from using the information

15   it will obtain from Microsoft about its rivals in the relevant markets even if a divestiture is

16   subsequently ordered. See Filtrol Corp., 1969 WL 219, at *8; H.J. Heinz, 245 F.3d at 726

17   (“Section 13(b) itself embodies congressional recognition of the fact that divestiture is an

18   inadequate and unsatisfactory remedy in a merger case); FTC v. Dean Foods Co., 384 U.S. 597,

19   606 n.5 (1966) (“Administrative experience shows that the Commission's inability to unscramble

20   merged assets frequently prevents entry of an effective order of divestiture.”). As to whether

21   post-consummation divestiture would be effective, Activision’s own CEO testified that putting

22   Activision titles on Microsoft’s Game Pass service would result in “destruction of value” and

23   “degrade the economics” of Activision’s content. Hr’g Tr. at 729, 752. Yet the Court failed to

24   analyze the extent to which this predicted destruction would likely occur or the extent to which

25   it would be remediable by the Commission if it were to find the Proposed Acquisition unlawful.

26   ***

27           Plaintiff respectfully submits that it has established a likelihood of success on appeal and,

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1    at a minimum, has raised substantial questions about the Court’s Opinion. Accordingly, an

2    injunction pending resolution of this issue by the Ninth Circuit Court of Appeals is warranted.

3        III.      THE FTC AND THE PUBLIC INTEREST WILL BE IRREPARABLY

4                  HARMED IF THE MERGER IS ALLOWED TO PROCEED

5               Where the federal government is a party to the litigation, the public interest merges with

6    the asserted harm to the government. Nken, 556 U.S. at 435. Consummation of the Proposed

7    Acquisition while the appeal is pending will irreparably harm the public interest and the FTC.

8               If the Proposed Acquisition is consummated, the harm to the public begins immediately.

9    If a preliminary injunction is not granted, Microsoft and Activision can begin to share

10   confidential business information and long-term strategic planning information and can begin to

11   make plans for exclusivity of Activision content. For example, as the Court assumed, “it is likely

12   Call of Duty will be offered exclusively on Game Pass, and not offered on rival subscription

13   services.” Op. at 47. The harms in the market for multi-game subscription services will begin

14   immediately upon consummation of the Proposed Acquisition as Microsoft and Activision begin

15   operationalizing the full foreclosure that the Court assumed is “likely.” This will result in

16   ongoing harm to consumers that will be difficult to remedy after the full litigation process runs

17   its course.

18              Another example of immediate harm arises from Microsoft’s gaining access to its rivals’

19   sensitive information about their work with Activision to optimize Activision content for their

20   products and services. See supra. Microsoft and its competitors currently share information with

21   Activision to engage in procompetitive innovations. See supra. Those rivals will likely stop

22   sharing information with a combined firm. See, e.g., PX7053 (Ryan (Sony) Dep.) at 34:16 (“We

23   simply could not run the risk of a company that was owned by a direct competitor having access

24   to that information.”). Even if the FTC eventually wins on appeal, the harm to competition from

25   shutting off the flow of information is an immediate competitive harm, and the lost time and

26   effort on innovation cannot later be restored even the merger is later unwound. See supra.

27              These harms will manifest even if “Microsoft and Activision will act as parent and

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1    subsidiary” with “no planned dismantling of operations.” Op. at 52. “Effective enforcement is

2    made difficult when the FTC must undo a merger after it has been consummated.” FTC v. Lab.

3    Corp. of Am., No. 10-cv-1873, 2011 WL 3100372, at *22 (C.D. Cal. Mar. 11, 2011) (citing FTC

4    v. Freeman Hosp., 69 F.3d 260, 272 (8th Cir. 1995)); see also Whole Foods Market, 548 F.3d at

5    1033-34. As several courts have noted, “once an anticompetitive acquisition is consummated, it

6    is difficult to ‘unscramble the egg.’” FTC v. Univ. Health, Inc., 938 F.2d 1206, 1217 n.23 (11th

7    Cir. 1991); see, e.g., FTC v. Dean Foods Co., 384 U.S. 597, 606 (1966) (“Administrative

8    experience shows that the Commission’s inability to unscramble merged assets frequently

9    prevents entry of an effective order of divestiture.”); FTC v. Tronox Ltd., 332 F. Supp. 3d 187,

10   217 (D.D.C. 2018) (“Divestitures may not succeed at restoring competition to the post-merger

11   market.”). The sharing of strategic information in ways that are harmful to competitors cannot

12   be “unscrambled.”

13      IV.      ENTRY       OF    AN     INJUNCTION         PENDING        APPEAL       WILL      NOT

14               SUBSTANTIALLY INJURE DEFENDANTS

15            Defendants will not be substantially injured by the brief delay from Plaintiff’s appeal of

16   this Court’s Order. There is no evidence that the parties are required to abandon the Proposed

17   Acquisition should the Court grant a stay that extends past July 18, 2023. Microsoft has publicly

18   stated that it is seeking to stay its appeal of the United Kingdom’s ruling against the merger. See

19   https://twitter.com/BradSmi/status/1678796043545350144?s=20 (last accessed on July 12, 2023).

20   Microsoft’s willingness to delay an appeal elsewhere supports finding that delay here will not

21   substantially injure Defendants. Accordingly, any alleged harm to Defendants from a stay while

22   the appellate process in this country plays out is far outweighed by the substantial public interest

23   in maintaining competition.

24      V.       AN INJUNCTION IS IN THE PUBLIC INTEREST

25            As discussed above with respect to the injuries to the public if the merger is

26   consummated, denial of an injunction pending appeal would undermine the strong public interest

27   in the effective enforcement of the antitrust laws by denying the public the opportunity to obtain

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1    full and complete relief should the FTC ultimately prevail on the merits. See E. I. du Pont de

2    Nemours, 366 U.S. at 323. Substantial harm to competition will likely occur during the pendency

3    of the appeal. Not least, bringing Call of Duty exclusively to Game Pass and allowing Microsoft

4    access to its competitors’ sensitive information about optimizing Call of Duty will manifest

5    immediate harms to the public. It is in the public interest to maintain the status quo while the

6    Court of Appeals assesses the merits of this Court’s decision denying the motion for a

7    preliminary injunction.

8                                             CONCLUSION

9           For the foregoing reasons, Plaintiff respectfully requests that this Court grant an

10   injunction pending appeal of this Court’s Opinion denying Plaintiff’s motion for a preliminary

11   injunction. Alternatively, Plaintiff respectfully requests that the Court temporarily enjoin the

12   Acquisition pending a ruling by the Court of Appeals on an emergency application for an

13   injunction pending appeal that Plaintiff intends to file.

14

15   Dated: July 13, 2023                                   Respectfully submitted,

16                                                          /s/ James H. Weingarten
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